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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT TACOMA
10    UNITED STATES OF AMERICA,
11                         Plaintiff,                      CASE NO. CR09-5088BHS
12           v.
13    STEVEN B. SMITH and BRADLEY                          ORDER GRANTING IN PART
14
      ALEXANDER GEORGE GARNER,                             AND DENYING IN PART
                                                           DEFENDANTS’ MOTION TO
15
                           Defendants.                     SUPPRESS AND GRANTING
                                                           IN PART AND DENYING IN
16
                                                           PART DEFENDANT
                                                           GARNER’S MOTION FOR
17
                                                           DISCOVERY ORDER

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            This matter comes before the Court on Defendants’ motion to suppress (Dkt. 47)
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     and Defendant Garner’s motion for discovery order (Dkt. 69). The Court has considered
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     the pleadings filed in support of and in opposition to the motion, heard the testimony of
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     witnesses and oral arguments of counsel, considered the remainder of the file, and hereby
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     grants in part and denies in part both motions for the reasons stated herein.
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                     I. FACTUAL AND PROCEDURAL BACKGROUND
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            On November 17, 2008, Plaintiff United States of America filed a criminal
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     complaint against Defendants Steven B. Smith and Bradley Alexander George Garner
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     alleging violations of Sections 1343, 1346, and 1349 of U.S.C. Title 18. Dkt. 1. On
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     March 19, 2009, Defendants were charged in a four-count Superseding Indictment with
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 1   wire fraud and theft of honest services in violation of 18 U.S.C. §§ 1343 and 1346, mail
 2   fraud in violation of 18 U.S.C. § 1341, and unlawful monetary transaction in violation of
 3   18 U.S.C. § 1957. Dkt. 36.
 4          On November 19, 2008, U.S. Army CID James T. Loeffler obtained a search
 5   warrant for the premises known as 79-800 Avenue 42, Bermuda Dunes, CA 92203. Dkt.
 6   48 at 10. The warrant contained an attachment that described the location and areas to be
 7   searched, which reads as follows:
 8                  The premises to be searched, hereinafter referred to as the
            “GARNER BERMUDA DUNES AIRPORT HANGAR” and “GARNER
 9          BERMUDA DUNES ROYAL LIMOUSINE SERVICE OFFICE,” are
            more particularly described as follows:
10                  The PREMISES TO BE SEARCHED consists of the common and
            privately leased areas of 79-880 Avenue 42, Bermuda Dunes, CA 92203,
11          commonly known as the Bermuda Dunes Airport; privately leased areas
            leased by Bradley Alexander George Garner and/or the business ROYAL
12          LIMOUSINE SERVICE, entirely owned by Bradley Alexander George
            Garner. Common areas to include areas ROYAL LIMOUSINE SERVICE,
13          employees of, and BRADLEY ALEXANDER GEORGE GARNER would
            have access to. Described as an aircraft hangar, which is one of three
14          aircraft hangers on the property of Bermuda Dunes Airport. The GARNER
            BERMUDA DUNES AIRPORT HANGAR is situated on the eastern most
15          side of the airport. The hangar has no visible distinctive marking, but is a
            tan hangar with brown trim. The hangar is approximately 300 feet in length
16          by approximately 80 feet in width. On the south-east wall there is an
            unidentified orange systems box and a gray electrical box. There is a whit
17          door on the south side. Immediately to the south of the structure there is a
            small fenced enclosure, containing fuel storage tanks that are surrounded by
18          green vegetation. On the east side there are large hangar doors which open
            to the concrete apron leading to the airport runway. Photographs of the
19          structure exposed during surveillance date 18 nov. 08, depicting GARNER
            outside the structure are attached in Attachment A.
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     Dkt. 48 at 45 (emphasis in original).
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            Mr. Garner states that the search proceeded as follows:
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                   On November 19, 2008, Special Agent Jason Loeffler of the U.S.
23          Army Criminal Investigations Division submitted an application and
            affidavit to obtain a warrant to search the “Garner Bermuda Dunes Airport
24          Hangar” and the “Garner Bermuda Dunes Royal Limousine Service
            Office.” See Ex. C to Declaration of Lyle A. Tenpenny (search warrant,
25          affidavit, and related papers). While this language refers to Royal
            Limousine’s “office,” SA Leoffler’s affidavit particularly describes the
26          place to be search only “as an aircraft hangar, which is one of three aircraft
            hangars on the property of Bermuda Dunes airport” and further notes that
27          Mr. Garner’s hangar “is situated on the eastern most side of the airport” and
            “has no visible distinctive markings, but is a tan hangar with brown trim.”
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 1          Id. The search warrant affidavit describing the place to be searched
            includes a picture of the hangar space the agents sought to search, but
 2          contains no picture of the trailer (which is some distance from the hangar)
            that was searched. In fact, at an evidentiary hearing, the agents who
 3          conducted the search would be expected to confirm that the trailer is a 5 to
            7 minute walk from the hangar. In other words, the trailer is not adjacent
 4          to, or within the immediate environs of, the hangar described in the
            affidavit. In fact, there is no reference at all in the search warrant affidavit
 5          to the trailer that the federal agents searched.
                    In a April 8, 2009 telephonic discovery conference, AUSA David
 6          Jennings acknowledged having received a call on the day of the search from
            agents, who relayed the discovery that Mr. Garner’s office was in a
 7          detached mobile trailer he owned, which was located elsewhere on the
            airport grounds. See Tenpenny Decl. ¶ 4. Upon receiving this call from the
 8          case agent, AUSA Jennings told the agent that the government would obtain
            a separate warrant to search the trailer. Id. SA Loeffler then informed
 9          AUSA Jennings that agents had already entered and seized records from the
            trailer. Id. Recognizing the issue, AUSA Jennings instructed the agents to
10          segregate the materials seized from the trailer from the other materials
            seized from the airport that day. Id.
11
     Dkt. 47 at 3-4. In its brief, Plaintiff concedes that Mr. Garner “correctly states the facts
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     regarding the search . . . .” Dkt. 55 at 3.
13
            On April 9, 2009, Defendant Garner filed a Motion to Suppress Certain Evidence
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     Seized from Bermuda Dunes Airport. Dkt. 47. On April 16, 2009, Plaintiff responded.
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     Dkt. 55. On April 17, 2009, Defendant Smith joined in Mr. Garner’s motion. Dkt. 56.
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            On April 22 and 23, 2009, the Court held an evidentiary hearing on this motion.
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     Dkts. 64 and 70.
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            On April 23, 2009, Defendant Garner filed a Supplemental Memorandum in
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     support of his motion. Dkt. 66. On April 24, 2009, Defendant Garner filed a Notice of
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     Discovery Violation Relating to Motion to Suppress Evidence Seized at Bermuda Dunes
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     Airport and Request for Discovery Order. Dkt. 69. Defendant Garner attached to the
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     notice an email from government agent Paul Blake. Id. at 14. Agent Blake appears to
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     have sent the email on November 20, 2008, shortly after participating in the airport
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     search. Id. Defendant Garner claims that he received the email the day after the
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     evidentiary hearing was completed. Id. at 2. With regard to the substance of the email,
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     Agent Blake expresses his concern that the warrant was served “without everyone taking
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     the time to read it” and that the trailer was outside the scope of the warrant. Id. at 14-15.
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 1                                        II. DISCUSSION
 2   A.     Fourth Amendment Reasonableness
 3          The Fourth Amendment provides that “[t]he right of the people to be secure in
 4   their persons, houses, papers, and effects, against unreasonable searches and seizures,
 5   shall not be violated.” U.S. Const. amend. IV. A search is unreasonable under the Fourth
 6   Amendment, and thus unconstitutional, if it is performed without proper judicial
 7   authorization. See Groh v. Ramirez, 540 U.S. 551, 562-63 (2004). To determine whether
 8   the search of a specific location is within the scope of a valid warrant, courts consider “an
 9   objective assessment of the circumstances surrounding the issuance of the warrant, the
10   contents of the search warrant, and the circumstances of the search.” United States v.
11   Hurd, 499 F.3d 963 (9th Cir. 2007) (citations omitted).
12          In this case, the parties disagree as to whether the agents properly executed the
13   search warrant. Defendants argue that the search of the trailer at the airport violated their
14   constitutional rights because the trailer was outside the scope of the warrant. Dkt. 47 at 4-
15   6; Dkt. 59 at 3-4. Plaintiff concedes that:
16          The Bermuda Dunes search warrant accurately described the business to be
            searched, and accurately described that it was on the airport premises, but
17          inaccurately described that the business was believed to be primarily
            located in a hangar.
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     Dkt. 55 at 6. Moreover, Plaintiff argues that “[h]ad the warrant contained a single
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     sentence that the Royal Limousine Office was believed to be in a portable trailer, located
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     somewhere on the airport premises, there would be no issue here.” Id. at 7. The Court
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     agrees as to the absence of a particular sentence in the search warrant and finds that the
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     warrant does not describe with particularity that the Royal Limousine Office would be
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     found outside of, or a significant distance away from, the leased airport hangar.
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     Therefore, the Court finds that the search of the Royal Limousine Office trailer violated
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     Defendants’ Fourth Amendment rights to be free from unreasonable searches.
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            Plaintiff argues that suppression of the evidence obtained is not an automatic
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     consequence of an unreasonable search. Dkt. 55 at 7-9. Plaintiff asserts that the Court
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 1   should rely on the good faith exception announced by the Supreme Court in United States
 2   v. Leon, 468 U.S. 897 (1984). Defendants counter with the Tenth Circuit’s holding in
 3   United States v. Angelos, 433 F.3d 738 (10th Cir. 2006), that the Leon exception does not
 4   apply when “the problem lies in the execution, and not the constitutionality, of the search
 5   warrant.” Id. at 746. Although the Court is unaware of any direct Ninth Circuit support
 6   for this proposition, the Circuit did explicitly distinguish the Angelos holding in United
 7   States v. Hurd, 499 F.3d 963, 969 n. 6 (9th Cir. 2007). In Hurd, the court upheld the
 8   district court’s denial of the defendant’s motion to suppress finding that “it was
 9   objectively reasonable for Officer Clifton to believe that Judge Kurshner authorized the
10   search of Hurd’s residence, despite [Judge Kurshner’s] failure to initial the appropriate
11   line on the search warrant.” Id. at 969. Specifically, the defendant argued that this
12   holding would create an inter-circuit conflict with Angelos, but the court disagreed and
13   stated that Angelos was “readily distinguishable.”
14          In this case, the Court finds that the execution of the search warrant was more
15   similar to the Angelos scenario rather than the Hurd scenario. In other words, it was
16   objectively unreasonable for the officers conducting the search to understand that the
17   scope of the search warrant contemplated that the Royal Limousine Office would have
18   been found outside of, and a significant distance from, the leased airport hangar.
19   Therefore, the Court finds that the Leon good faith exception does not apply to overcome
20   the suppression of the evidence seized from the trailer in violation of the Defendants’
21   constitutional rights.
22   B.     Extent of Suppression
23           “Ordinarily, only evidence that is obtained in violation of a warrant is
24   suppressed.” United States v. Chen, 979 F.2d 714, 717 (9th Cir.1992). However, “in
25   cases where there is ‘flagrant disregard’ for the terms of the warrant, the district court
26   may suppress all of the evidence, including evidence that was not tainted by the
27   violation.” Id. Wholesale suppression is an “extraordinary remedy” that is appropriate
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 1   “only when the officers transform the search into an impermissible general search by
 2   ignoring the terms of the warrant and engaging in indiscriminate fishing.” Id.
 3          In this case, Defendants request that the Court suppress all the evidence seized
 4   from the Bermuda Dunes Airport search because the agents conducted the search in
 5   flagrant disregard of the terms of the warrant. Dkt. 66 at 1. Although the Court finds that
 6   the agents conducted an unconstitutional search outside the particular terms of the
 7   warrant, the Court does not find that the agents conducted an impermissible general
 8   search that can be characterized as indiscriminate fishing. In fact, the warrant states that
 9   the agents were authorized to search the Royal Limousine Office if the office was inside
10   the particularly described hangar. The fact that the agents searched the office that was
11   located in a trailer some distance away from the airport hangar does not show that they
12   conducted a “general search” of the airport. Moreover, the Court finds that the agents did
13   not conduct an “indiscriminate fishing” expedition when they searched this trailer office.
14   Therefore, the Court denies Defendants’ request to suppress all of the evidence that was
15   seized from the search of the Bermuda Dunes Airport.
16   C.     Discovery Order
17          Defendant Garner requests that:
18                  In light of the production of Agent Blake’s email, Mr. Garner
            requests that the Court enter an order directing each agency involved in the
19          Bermuda Dunes Airport search to produce all notes, email, memoranda,
            reports or other documents relating to the search. The order should also
20          require the agent-in-charge of each office involved in the search to sign a
            certification that a diligent search for such materials has been conducted
21          and that all materials as a result of that search have been produced to the
            prosecutor for delivery to the defense.
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     Dkt. 69 at 4. With regard to the former request, Plaintiff informed the Court during a
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     conference call that it is implementing measures to comply with this request despite the
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     current absence of a Court order. In light of the late discovery of Agent Blake’s email,
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     the existence and non-disclosure of a video from the search, and the fact that Defendants
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     have received nothing from the lead agent, Agent Loeffler, from this search, the Court
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     finds that it is necessary to enter an order specifically requiring Plaintiff to comply with
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 1   its discovery obligations as to this particular search. Therefore, the Court grants

 2   Defendant Garner’s motion as to this request.

 3          On the other hand, the Court finds that it is unnecessary, at this time, to order

 4   every agent-in-charge to certify that a diligent search for such materials has been

 5   conducted. Therefore, the Court denies Defendant Garner’s motion as to this request.

 6                                           III. ORDER

 7          Therefore, it is hereby

 8          ORDERED that Defendants’ motion to suppress (Dkt. 47) is GRANTED in part

 9   and DENIED in part as stated herein and that Defendant Garner’s motion for discovery

10   order (Dkt. 69) is GRANTED in part and DENIED in part as stated herein.

11          DATED this 27th day of April, 2009.




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                                                       BENJAMIN H. SETTLE
15                                                     United States District Judge
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